                 Case
                  Case1:19-cv-02070-JDB
                        1:19-cv-02070-JDB Document
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Default - Rule 55A                                                                        (CO 40 Revised-6/2019)




           UNITED STATES DISTRICT AND BANKRUPTCY COURTS
                                     FOR THE DISTRICT OF COLUMBIA




                      Plaintiff(s)
                                                                          Civil Action:
         v.




                     Defendant(s)



RE:


                                                   DEFAULT
         It appearing that the above-named defendant(s) failed to plead or otherwise defend this action though

duly served                                                      on                           , and an affidavit

on behalf of the plaintiff having been filed, it is this         day of                       ,          declared

that defendant(s) is/are in default.



                                                                 ANGELA D. CAESAR, Clerk


                                                           By:
                                                                            Deputy Clerk
